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IN THE UNITDED STATES DISTRICT COURT
F()R THE SOUTHERN DISCTRICT ()F NEW YORK

 

ln re Bankruptcy Case N0. 16-22321 (RDD)
KIRWAN OFFICES S.a R.L., On Appeal from the U.S. Bankruptcy
Court for the Southern Distriet Of New
Debtor. York

Case N0. l:l7-ev-O4339~CS
Case N0. 1:17-ev-04340-UA

 

 

APPELLANT’S BRIEF IN SUPPORT OF APPEAL FR()M BANKRUPTCY
COURT ORDER CONFIRMING DEBT()R’S PLAN OF
RE()RGANIZATION

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l This brief Was drafted by the Appellant. He Was assisted in legal research and
analysis by his personal Russian lawyer Who is not trained or licensed in US law.

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Appellant Stephen P. Lynch respectfully submits this brief in support of his
consolidated appeal from:

(a) the F indings ofFact, Conclusl`ons ofLaw ana1 Ora’er Approvz`ng ana’
Confzrmz`ng the Combz'nea' Fz`rst Amena'ea' Plan ofReorganizalion ana’ Disclosure
Stalement ofKirwan Ojjlces S.a 1.1. entered by the United States Bankruptcy Court
for the Southern District of NeW Yorl< (the “Banl<ruptcy Court”) on March 21,
2017 (811-8512 (BDI 131)) (the “Confirmation Order”); and

(b) the Ora’er Denying Motz`on of Stephen Lynch for (1) Rell`efffom the
Canfz`rmation Ora’er 01, Alternatz`vely, for New Trz'al 01, Allernatz'vely, for
Alteraz‘z`on 01 Amena'rnent aft/20 Con]11n1a1‘1'0n Ora’er ana7 (2) Stay ofEnforcemenZ
of the Confzrmaz‘z`on Ora’er Pena’ing Determinatl`on of the Motz`on, entered by the
Bankruptcy Court on April 17, 2017 (1001-1002 (BDI 165)) (“Order Denying
Relief’).

JURISDICTIONAL STATEMENT

The Confirmation Order is a final order of the Bankruptcy Court, 111 re
Amerz`can Preferrea’ Prescripn`on, 1n0, 255 F.3d 87, 92 (2001). However certain
post-trial motions that toll the running of time for an appeal render the underlying

judgment non-final. Szane v. 1.N.S., 514 U.S. 386, 402-403 115 S.Ct. 1537 131

 

2 References are to page numbers in the Appendix to Appellant’s Brief.

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L.Ed.2d 465 (1995). Such motions give rise to only one appeal in which all matters
are reviewed. 1a'. 1n addition denial of motion for relief from judgment is
appealable as a separate final order, and if the original appeal is still pending, the
court can consolidate proceedings 1a’ at 401.

This Court has appellate jurisdiction over the Confirmation Order as well as
the Order Denying Relief. 28 U.S.C. §158(a)(1).

On April 4, 2017, within 14 days from the Confirmation Order, Appellant
filed his l\/lotion for (1) Relief from the Confirmation Order or, alternatively, for
New Trial or, alternatively, for Alteration or Amendment of the Confirmation
Order, and (2) Stay of Enforcement of the Confirmation Order Pending
Determination of the l\/[otion (924-950 (BDI 148)) (the “Motion for Relief"). On
April 28, 2017, within 14 days from the Order Denying Relief, Appellant filed
notices of appeal from the Confirmation Order (1074-1075 (BDl 171)) and from
the Order Denying Relief(A1076-1077 (BDI 172)).

STATEMENT OF THE ISSUES AND STANDARD OF REVIEW

The following issues are presented on this consolidated appeal:

1. Whether Stephen P. Lynch was given adequate and proper notice of
the time fixed for filing objections to and the hearing to consider approval and
confirmation of the Combined First Amended Plan of Reorganization and

Disclosure Statement of Kirwan Offices S.a r.l (513-629 (BDI 110)) (the “Plan”)
2

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and whether he was given sufficient time to adequately contest the Plan consistent
with his due process rights.

2. Whether the Banl<ruptcy Court had subject-matter jurisdiction to
approve the exculpation and injunction provisions in the Confirmation Order and
the Plan (the “Exculpations and Injunctions”) in relation to Stephen P. Lynch’s
claims against Appellees and other third parties under the Shareholders’
Agreement dated August 30, 2007 (the “SHA”).

3. Whether the Bankruptcy Court had adjudicatory authority to approve
the Exculpations and lnjunction in relation to Stephen P. Lynch’ claims against
Appellees and other third parties under the SHA (the “SHA Claims”).

4. Whether the Exculpations and lnjunctions in relation to the SHA
Claims satisfied the standards that apply to such provisions by the courts in the
Second Circuit.

5. Whether the Banl<ruptcy Court should have granted Appellant’s
motion for relief from the Exculpations and lnjunctions under FRBP 9024.

6. Whether the Bankruptcy Court should have granted Appellant’s
motion for a new trial on the Exculpations and lnjunctions under FRBP 9023.

lssues 1 to 4 involve both legal conclusions and factual findings lssue 5
involves a factual finding. lssues 5 and 6 involve exercise of discretion by the

Bankruptcy Court, except where they are concerned with relief from judgment due
3

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to lack of due process or jurisdiction, in which case they involve questions of law
and fact.

A district court reviews a bankruptcy court’s findings of fact for clear error
and its conclusions of law de novo. 1n 10 Aa’01ph1`a Communicazz`ons C01p., 367
B.R. 84, 90-91 (2007). 1n case of mixed questions of law and fact, the Court
reviews Hndings of fact under the ‘clearly erroneous standard’ and the conclusions
of law de novo. 1n 10 T0lz`g0nt, 1n0, 326 B.R. 219, 224 (2005). A finding of fact is
clearly erroneous “if the court is left with the definite and firm conviction that a
mistake has been committed.” 1n 10 Aa’01ph1`a C01111nun1'0atz`0ns C01p., 367 B.R. 90.

The denial of a motion for reconsideration under FRBP 9023 is reviewed for
an abuse of discretion. 1n 10 BDC 56 LLC, 330 F.3d 111, 123 (2nd Cir. 2003).
Bankruptcy court’s denial of motion for relief from judgment under FRBP 9024
may be reversed only for abuse of discretion 1n 10 T011`g0n1, 1n0, 326 B.R. 224.
Bankruptcy court abuses its discretion when it arrives at a decision that rests on
error of law or clearly erroneous factual finding, or a decision that, while not
necessarily the product of legal error or clearly erroneous factual finding, cannot be
located within the range of permissible decisions. la’.

Although Rule 60(b) motions are generally committed to the discretion of
the district court, and thus subject to review for abuse of discretion, there is no

question of discretion on the part of the court when a motion is under Rule
4

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60(b)(4); if the judgment is void, relief is mandatory. Bell H011'00p101 T0x110n, 1n0
v. lslamic R0p111)11`c 0f11an, 734 F.3d 1175, 1179 (D.C. Cir. 2013) (citation and
quotation marks omitted).

STATEMENT OF THE CASE
SUMMARY

This is a case in which Appellees3 who were the Debtor’s super majority
shareholders and who, for tax reasons had provided their shareholder equity in the
form of loans, contrived the Debtor’s4 insolvency and shamelessly manufactured
jurisdiction of a bankruptcy in a US court in order to achieve a goal that they could
not otherwise achieve because of their contractual agreement with Appellant (the
Shareholders Agreement). Set up as offshore special purpose vehicles designed to
avoid, inter alia, US regulation and taxation and without any employees or any
presence in the US, Appellees, in violation of the debtor’s corporate governance
rules and without Appellant’s (the Debtor’s minority shareholder) knowledge,
contrived jurisdiction of the Westchester Division of the US S.D.N.Y Bankruptcy

Court.

 

3 Appellees were also the only petitioning creditors and Plan proponents.

4 The Debtor never appeared in the case, even though it appointed counsel in late
January 2017.

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There Appellees, acting as purported creditors, achieved their only goal of
the bankruptcy, “getting rid of Lynch [Appellant]” through a staged reorganization
and the wipeout of the minority shareholder’s valuable ‘ golden share’. Their goal
achieved Appellees left the US having paid no US taxes or employed any US
citizen they gamed the Bankruptcy court to take away from the Appellant, a US
citizen, a valuable asset - the myriad of promises Appellees made to Appellant
under the SHA.5

lncredibly the only person affected by the bankruptcy was the Appellant,
nothing changed at the Debtor except that the Creditors / Appellees (who are
ultimately controlled by one beneficiary) become the sole shareholders ln
becoming sole shareholders they rid themselves of the promises they had made to
Appellant in return for his contribution to the Debtor of its only subsidiary. In this
process Appellees’ and their counsel’s conduct is one in which they act as if the
Bankruptcy Court is their personal tool, all rules and procedures to be enforced to
their benefit while none are afforded to Appellant, the only party who is actually a

US citizen. They contend Appellee’s behavior as a mockery of the court but it is

 

5 As a consequence of taking the Appellant’s valuable share, the Bankruptcy court
left the Appellant vulnerable to outstanding claims in the hundreds of millions
against him and the Debtor’s subsidiary.

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this contrived and fake bankruptcy by ‘off-shore island SPVs’ that is the mockery
and never intended by Congress.

Appellant wishes to pursue his SHA Claims but is barred by a permanent,
global, over-reaching injunction preventing him from ever having his claims heard.
This is an injustice and should be overturned.

PARTIES

From August 30, 2007 until April 18, 2017 Appellant was a class C
Shareholder of the Debtor and Appellees were Debtor’s class A and class B
Shareholders (217-218 (BDI 62) 11111-3). The Debtor, a Luxembourg company, was
an investment vehicle of Appellant and Appellees (219 117).

ln August 2007 Appellant organized Renaissance Capital and VR Capital
Group Limited and himself (the “Consortium”) to come together to consider the
acquisition of 100% of shares in Yukos Finance B.V. (“Yukos Finance”), one of
the largest foreign subsidiaries of bankrupt Yukos Oil Company (“Yukos Gil”), to
be auctioned off by Yukos Oil’s bankruptcy receiver on 15 August 2007.

At the time Renaissance Capital was one ofthe largest investment banks in
Russia. lt consisted of a group of companies ultimately owned by Bermuda-based
Renaissance Holdings l\/lanagement Limited (“RHl\/IL”) (1 105-1115).

VR Capital Group Limited (“VRCG”) is an asset management company

based in Cayman lslands. Through its Cayman wholly owned subsidiary VR
7

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Advisory Service Limited (“VRAS”) VRCG manages VR Global Partners, L.P.
(“VRGP”), a multi-billion Cayman lslands investment fund (218-219 11114, 6).

Despite a net asset value of Yukos Finance of approximately US$1.6 billion
its shares were auctioned for approximately US$309 million (224 1121), because
Yukos Finance was a party to complex on-going litigation (255-256 recitals “1”
and “J”) and its shares were subject to several attachments of creditors of Yukos
Oil in the Netherlands (254-255 recitals “C”, “D”, “E”, “F”, “G”).

RHl\/IL and VRCG-VRGP believed themselves capable of resolving the
foreign litigation involving Yukos Finance (221-223 111[15-20) and agreed to
finance the acquisition of Yukos Finance.

On 14 August 2007 OOO 6 Monte-Valle (“l\/lonte-Valle”), Appellant’s
Russian company, acquired OOO Promneftstroy (“PNS”) a company that was
registered for the auction and had paid the required deposit ($60,000,000) (222
1117).

On 15 August 2007 Appellant attended the auction on behalf of PNS and
made the winning bid of circa US§B309 million (224 1121). On 20 August 2007 PNS

entered into the Yukos Finance Share Purchase Agreement (“Yukos Finance

 

6 “OOO” is a Russian abbreviation for “LLC” (limited liability company).

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SPA”) with the bankruptcy receiver of Yukos Oil to purchase the Yukos Finance
shares (224 1123).

Contemporaneously with PNS entering into the Yukos Finance SPA the
Consortium members began to negotiate an agreement between themselves to
document their participation in Yukos Finance (224-225 1125). Guided by tax
considerations RHl\/IL and VRCG-VRGP insisted on using a Luxembourg
company as the Consortium’s investment vehicle (165 (BDI 34) 11115, 6, A 199-
201) and structuring their investment in that company as 85% interest bearing debt,
14% interest free debt, 1% equity, so as to avoid 1% Luxembourg capital tax (224
1124, A 166-167 11119-13, A 204-214), but agreed to waive the Loans (SHA Clause
5.6). On August 30, 2007 Appellant, Appellees,7 the Debtor, VRGP and RHl\/[L
entered into the SHA (224-225 1125, A 49-99).

Pursuant to the SHA (49-99) Appellees capitalized the Debtor with
$2,482,929 as share capital and 8247,500,000 as Loans in consideration for
2,482,929 newly issued A and 13 Shares in the Debtor (SHA Clause 2.1 and

Schedule 5).

 

7 Appellees were themselves investment vehicles of RHl\/IL (l\/lascini Holdings
Limited (“l\/lascini”)) and VRCG-VRGP (Lapidem Limited (“Lapidem”)). RHl\/IL
had a 27% co-investor in l\/Iascini and VRCG-VRGP had a 46% co-investor in
Lapidem.

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Appellant procured transfer of PNS8 to the Debtor for a nominal price of
approximately 8300 in consideration for one C Share in the Debtor (SHA Clauses
2.1.4, 4.1.1) and a promise by Appellees (not the Debtor) to pay Appellant 10% of
the Net Gain (SHA Clause 12.5) that would accrue to Appellees9 as a result of their
participation in the Debtor, acquisition of Yukos Finance by PNS, transfer of
Yukos Finance by PNS to the Debtor (SHA Clause 4.3.1) and distribution of
Yukos Finance assets to the Debtor (SHA Clause 11.4).

Appellees’ and in certain instances their controlling shareholders, VRGP and
RHML, also promised Appellant:

(a) to procure that PNS takes all actions, steps and proceedings
legally available to it in order to acquire legal registered title to the entire
issued share capital of Yukos Finance (SHA Clause 5.3);

(b) not interfere with PNS’ actions, steps and proceedings directed
at the acquisition of the legal registered title to the Yukos Finance shares

(SHA Clause 5.4);

 

3 PNS already had the right to acquire the entire issued share capital in Yukos
Finance pursuant to the Yukos Finance SPA (SHA recital “D”)

9 Schedule 4 ofthe SHA defines Net Gain as “ln0 101111n achieved by 1120 Fz`nancz`ng
Sha10h0[d015 [i.e. Appellees] af101 d0d11011`11g” their capital contributions, including
subscription monies and monies provided to the Debtor under the loan agreements
in accordance with Clauses 2 and 10 ofthe SHA and certain other amounts

10

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(c) to procure that the Debtor and PNS protect and maintain their
assets with a view to maximizing the Net Gain(s) which may accrue to
Appellees (SHA Clause 5.5.4);

(d) to procure that the Debtor complies with the terms of the
Loans10 (SHA Clause 5.6);

(e) not to enter into any arrangement with the Debtor, PNS, Yukos
Finance and its subsidiaries which has the effect of depriving Appellant of
any part of the economic return to which he is entitled as contemplated by
Clause 12 ofthe SHA (SHA Clause 12.11);

(D that all sums received by the Debtor (by way of capital or
income) shall be allocated to and paid by way of consideration for the
repurchase by the Debtor of its shares to Appellants pro rata to the number
of shares they held; and

(g) that no amount would be paid by way of Return]l unless the
rights of Appellant had first been satisfied in full as contemplated by Clause

12.

 

10 These are the initial loans pursuant to which Appellees paid 8247,500,000 to the
Debtor on August 30, 2007.

ll The SHA defines Return as any payment of capital or income (or any other
agreement or arrangement that involves any payment or transfer of rights or

11

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Appellees waived any remedies that they might have in relation to any non-
payment or non-performance by the Debtor under the Loans (SHA Clause 5.6).

To secure their promises to Appellant, Appellees, gave Appellant the C
Share and certain appointment and control rights The sole purpose of the C Share
was to enable Appellant to have the appointment and control rights through his
nominal participation in the Debtor’s capital.12

Appointment rights given to Appellant included:

(a) the right to appoint a class C manager to the board of directors

ofthe Debtor (SHA Clause 6.2);

(b) the exclusive right to nominate a person to be appointed the

General Director of PNS - the only person who can act (or authorize others

to act) on behalf of PNS (SHA Clause 7.1.2);

 

economic benefit to an Appellee or its Affiliate) by or on behalf of any Group
Company (including the Debtor) to an Appellee or its Affiliate, including without
limitation payment by way of dividend, repurchase of Shares, interest, or a
distribution made on the winding-up of the Debtor.

12 The C Share, being one of 2,500,001 shares in the Debtor entitled Appellant to
1/2,500,001 of profit or assets available for distribution of the Debtor. A profit of
$l,000,000,000 would result in Appellant receiving a distribution on his C Share
from the Debtor of only 8400.

12

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(c) the right to have appointment and control rights in relation to
Yukos Finance upon its transfer to the Debtor materially equivalent to then
existing powers ofthe General Director of PNS (SHA Clause 7.1.4).
Appellant’s control rights included the right to veto decisions of the Debtor’s

shareholders on the Unaniinous Shareholder Reserved l\/latters (SHA Clause 9 and
Schedule 3 Part 3), including, inter alia, decisions pertaining to:

(d) payment of any Return to Appellees;

(e) Debtor’s liquidation, placing it into receivership or its
administration;

(f) any change to the Debtor’s charter the effect of which would be
to alter the rights attaching to the C Share;

(g) issue of shares, debentures, warrants, options or any capital
reorganization or other corporate action the effect of which would be to alter
the rights attaching to the C Share; and

(h) the sale or disposition of Yukos Finance (including any transfer
of control);
ln addition, VRGP and RHl\/IL guaranteed proper performance by Appellees

of their obligations to Appellant under Clause 12 of the SHA, including the
payment of 10% of the Net Gain, and agreed to indemnify Appellant on demand

for their own breaches ofthe SHA (SHA Clauses 19.1, 19.5, 20.1, 20.5).
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The above rights and promises, including the promise of 10% of the Net
Gain, existed while Appellant held his C Share and while the SHA was in effect
(SHA Clauses 3, 23.1, 23.3).

YUKos FINANCE LITIGATIoN

After PNS had paid the balance of the auction price for Yukos Finance the
bankruptcy receiver of Yukos Oil appointed Appellant as one of two directors of
Yukos Finance (271-272) and thereafter transferred the Yukos Finance shares to
PNS under the Deed of Transfer of the Shares subject to the Attachments and of
the Rights dated September 10, 2007 (273-282).

1n order for PNS to become the registered legal owner of Yukos Finance
shares it had to be registered as their owner in the register of shareholders of Yukos
Finance. This did not happen because of the litigation already underway at the
time in the Netherlands (230-232 1111 41-44).

On 31 October 2007 the Dutch court declared null and void all resolutions of
the bankruptcy receiver of Yukos Oil in relation to Yukos Finance. PNS appealed.
On l\/lay 9, 2017 the Amsterdam Court of Appeal dismissed PNS’ appeal for the
second time. The l\/lay 9, 2017 Amsterdam Court of Appeal ruling is appealable to
the Dutch Supreme Court as of right and PNS’s Dutch lawyers have advised that

they are preparing an appeal for filing on or before August 9, 2017.

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FUNDING BY APPELLEES

Defined in the SHA as “Financing Shareholders”, Appellees provided all of
the funding for PNS’s acquisition of Yukos Finance, including the repayment of
the $60 million auction deposit. From December 2007 to August 2015 Appellees
additionally provided 832,555,000 to the Debtor to fund mainly the litigation
expenses in relation to Yukos Finance (227-228 1135-361

All loan agreements between Appellees and the Debtor contain substantially
the same terms as to their repayment:

“Repay)nent: T110 Loan will be 10pa1`d 1`n full by 1120 B011ow01

[K1`1wan] on 011/101 (1) 1110 date falling 365 days aft01 1110 date ofa notice

f10111 1120 Lend01 [Lapz`dem 01 Masez`ni 105p0011`v01y] to 1120 Bo11ow01

1eauesting 10payn10nt of 1120 Loan (1110 “Repayment Date”) 01, zf 1120 pa1tz`0s

ag100, 011 any date falling b0f01e 1110 Repayment Date,‘ 01 (1'1) 1`fea111`01, 1120

date upon w112`011 an insolvency event (as d0101n12`n0d by 1110 Lend01) 0001113

1`n 101a11`0n to 1120 Bo11ow01.”

VRCG-VRGP CoNsoLlDATloN oF CoNTRoL ovER APPELLEES AND
i)lsPuTE wiTH APPELLANT

ln early 2013 VRGP and VRCG acquired the majority shareholding in
l\/lascini from RHl\/IL thus becoming the Debtor’s indirect controlling shareholder

(229 1138). By November 2013 all of the Debtor’s board of directors were

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employees or agents of VRCG and/or its affiliates and included Richard Deitz, the
president and founder of VRCG (218 115). Deitz who was the ultimate decision-
maker at VRCG acted to solely run the Debtor (through his defacto control of the
other VRCG directors of the Debtor) and determine its litigation strategy in
disregard of Appellant’s interests

Deitz wanted PNS to settle the Dutch litigation at cost, which would provide
a windfall to VRCG-VRGP,13 but would mean no Net Gain for Appellees and
subsequently no payout to Appellant. Absent compensation for waiver of his
rights, Appellant indicated he would veto and block a settlement. The Appellees
and the Debtor under Deitz’s control made several attempts to reorganize the
corporate governance of PNS, so as to void Appellant’s control rights in relation to
PNS. On four occasions Appellant blocked these actions by threat of LCIA
arbitration to force compliance with the SHA and in 2014 he commenced an LCIA
arbitration that was decided in the Appellant’s favor in July 2015 (243-245 1189-
98, A156-15811165).

However, the dispute between Appellant and Deitz who represented

Appellees continued and there was a fifth attempt to seize de facto control of PNS

 

'3 VRCG-VRGP acquired an additional 40% of the Debtor from RHl\/lL for a
nominal price.

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by Debtor’s granting of broad powers of attorney to Deitz and another VR officer.
Appellant thwarted this by preparing yet another LCIA request. Finally Deitz
realized he had no chance in the agreed jurisdiction (the LCIA) and instead hatched
a scheme to use the Westchester Division of the Bankruptcy Court. To do this
Appellees manufactured US jurisdiction and filed for the Debtor’s bankruptcy so to
“get rid of" Appellant (22 (BDI 21) 1140) for “free” instead of paying Appellant for
his rights

The SHA was terminable only by unanimous consent or unanimous
(shareholders) resolution of Appellant and Appellees or by a binding order for the
winding-up or reorganization of the Debtor. Appellant’s rights thereunder would
also terminate upon cancellation of his C Share (SHA Clauses 3 and 23.3). lnstead
of carrying through with the agreed steps in the SHA, Appellees organized an end-
run through an orchestrated bankruptcy process ln that process the Appellees
sought to discharge their own (and not the Debtor’s)'promises to Appellant under
the SHA and to do so without sustaining any liability for its breaches through the
Exculpations and lnjunctions.

After providing the Debtor with $4,000,000 in August 2015 Appellees
decided to temporarily stop funding in November 2015 without any notice to

Appellant (399 (BDI 81) 1110). Appellees’ suspension of funding was aimed only to

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create an insolvency event, call their loans to the Debtor instantly due and file for
bankruptcy. 14

Numerous times Deitz had assured Appellant of his firm’s financing
capacity. 1n l\/larch 2015 during the pendency of the LCIA arbitration Appellees
through their counsel Dechert LLP assured Appellant that it was “0n1i10ly
unnecessa1y f01 PNS to seek 01 obtain 1hi1d pa1ty litigation funding” because
Appellees had “ev01y intention and ability to continue 10 fund PNS’s legal
expenses through 10 the conclusion of the YF [Yukos Finance] litigation” (283-
286). Deitz repeated this assurance in a declaration to the Bankruptcy Court right
before the confirmation hearing (706-707 (BDl 123) 11152, 53).

APPELLEES CoNTRIvANCE oF THE DEBToR’s BANKRUPTCY IN THE US

1n October 2015 VRCG-VRGP caused the Debtor to engage the New York
office of Akin Gump to represent VRCG, Deitz and a director of VRCG Jeffrey
Johnson (“Johnson”) in section 1782 proceedings before this Court (1:15-mc-
00325-LAK) (238-240 1164-741 This was for services provided to Deitz, lohnson,
VRCG and not the Debtor. Emile du Toit (“du Toit”), a director of VRCG, both

Appellees and the Debtor, signed the engagement letter with Akin Gump without

 

‘4 Appellees resumed paying Debtor’s bills shortly after the Bankruptcy Court
granted their petition.

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any shareholders’ or even board of directors’ resolution as required by the SHA
and the Debtor’s charter (295-297). Appellees in control of the Debtor’s bank
accounts and without Appellant’s knowledge further caused the Debtor to pay a
s150,000 retainer re Ai<in oump (238 1165).‘5 rhey then used the unpaid Ai<in
Gump invoices totaling $174,530 (239 1171), only $24,530 above the retainer (239
1173), to declare an insolvency event in relation to the Debtor and their shareholder
loans to the Debtor immediately repayable (291-293).16

Similarly, on November 6, 2015 through du Toit, Appellees caused the
Debtor to enter into a Settlement, Cooperation and Retainer Agreement
(“Settlement Agreement”) and pay a New York based law firm l\/landel Bhandari a
retainer of $100,000 towards legal services provided to one Daniel Feldman in an
action before this Court (1:15-cv-04964-LAK) (240 1176-77). Again Du Toit
alone signed the Settlement Agreement on behalf of the Debtor without any
shareholders or board of directors’ resolution of the Debtor as required by the SHA

and the Debtor’s charter.

 

15 lt also seems that Appellees purposely delayed payment of Akin Gump invoices
so that the latter would ask for a retainer.

16 VRCG’s general counsel did not allow Akin Gump to apply the retainer against
the issued invoices (294).

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Through their directors on the Debtor’s board and in secrecy from
Appellant, Appellees made the Debtor deplete its funds while temporarily
suspending additional funding of the Debtor. They did this to declare an insolvency
event on the basis of the $24,350 shortfall, and demand immediate repayment of
their loans on the basis of the staged insolvency event (242 1184, 291-293) so that
they could file an involuntary bankruptcy petition (1-6 (BDI 1)).

All these machinations had one purpose - Appellees ridding themselves of
their SHA promises to Appellant without any payment or liability to Appellant.
There was no genuine bankruptcy purpose, as no true debtor - creditor relationship
was or had to be adjusted: no law firm that invoiced the Debtor, PNS or VRGP
demanded payment and all were fully paid with the funds Appellees provided to
the Debtor post bankruptcy, Appellees loans to the Debtor did not get repaid as a
result of the bankruptcy,17 Appellees funded the Debtor as they had done in the
past and as they assured Appellant they would do in l\/larch 2015. The only
manifest result of this contrived bankruptcy was that Appellees got rid of the

Appellant Consequently they acquired the ability to cause PNS to settle the Dutch

 

17 That these loans got extended is irrelevant as they were never due in the first
place and as among other reasons there was an agreement between the SHA parties
that these loans could only be repaid (subject to SHA Clause 11.1) out of funds the
Debtor would receive from Yukos Finance.

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litigation in which it participates without having to pay Appellant for a waiver of
his rights under the SHA.

PROCEDURAL HIST()RY

On 6 April 2016 Appellant filed a l\/lotion for lntervention and Dismissal,
Abstention or Stay (7-14) (“Motion for lntervention”), which pursuant to the
parties’ Joint Stipulation (160-162 (BDI 32)) was partially heard on June 17, 2016
and, to the extent heard, denied (215-216 (BDl 43)). The remaining part of the
Appellant’s motion pertaining to dismissal or abstention under 11 U.S.C. §1112 or
§305 was heard on January 27, 2017 and also denied (419-420 (BDI 92)).

On February 15, 2017 Appellees filed their proposed plan of reorganization
of the Debtor (421-468 (BDl 97)). The same day they filed a l\/lotion For Entry Of
An Order Establishing Streamlined Procedures With Respect To Plan
Confirmation (469-490 (BDl 98)) (“Streamline l\/lotion”). On February 22, 2017
Appellant’s counsel filed a motion to withdraw (505-508 (BDI 103 and 104)).

The Streamline l\/lotion was heard and granted on February 27, 2017 (652-
682 (BDl 118)). The transcript of the hearing (656) erroneously records the
presence of the Appellant and l\/lr. Sandakov (“Sandakov”) as Appellant’s counsel
at the hearing. Neither Appellant, nor Sandakov participated in the telephonic

hearing on February 27, 2017 nor was Sandakov Appellant’s counsel of record in

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the bankruptcy case. Since February 22, 2017 Appellant was simply

unrepresented in the bankruptcy case.

On February 28, 2017 Appellees filed the Plan (513-629 (BDI 110)).

On l\/larch 6, 2017 Appellant by notice to Appellees, VRGP and RHML
terminated the SHA for its anticipatory repudiatory breach (806-809 (BDI 123
Exhibit G) and requested LCIA arbitration of his claims against Appellees and
VRGP for damages for breach of the SHA various Clauses (724-802 (BDI 123
ExhibitD)).

On l\/larch 20, 2017 a confirmation hearing took place, at which only
Appellees were present (apart from the foice of the US Trustee and Yukos
lnternational UK B.V., a subsidiary of Yukos Finance, as a purported party in
interest), and the Bankruptcy Court approved the Plan with its own suggested
amendments (875-921 (BDI 145)). On March 21, 2017 the Bankruptcy Court
entered the Confirmation Order approving the Plan as amended at the hearing.

The Confirmation Order and the Plan:

(a) define “Exculpated Claim” to include any claim related to any

act or omission in connection with Appellees, VRCG and their Affiliates in

 

111 Andrei Sandakov is Appellant’s long time Russian lawyer. He is not licensed to
practice in any state in the United States and he has never been engaged to
represent Appellant in the United States.

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or out of court restructuring efforts, Appellees’ determination to declare their
loans to the Debtor due, the filing of the involuntary petition, the filing of
the Plan, the pursuit of confirmation and implementation of the Plan;

(b) provide for release and exculpation of Released Parties,
including Appellees, VRGP and RHl\/IL and other third parties from
Exculpated Claims;

(c) enjoin Appellant from commencing or continuing in any
manner any action or other proceeding of any kind on account of or in
connection with or with respect to any Exculpated Claims (“Exculpations
and lnjunctions”).

On l\/[arch 24, 2017 Appellees filed their Motion to enforce Exculpations

and lnjunctions against Appellant (852-866 (BDI 133)) asserting that the

Confirmation Order enjoined Appellant from continuing with the LClA arbitration.

Appellant objected (867-874 (BDI 144)) on the grounds that there was no violation

of the Confirmation Order because his claims against Appellees were only

enjoined on and from the Effective Date as determined under the Plan and that

such date had not occurred. Following Appellant’s objections Appellees filed their

notice of occurrence of the Effective Date (922-923 (BDI 146)). Appellant

withdrew his arbitration request without prejudice on l\/larch 29, 2017 and the

LClA closed the matter (956, 960 (BDl 157 Exhibit 1 and 3)).

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On April 4, 2017 Appellant filed his l\/Iotion for Relief, which the
lBankruptcy Court heard and denied on April 14, 2017, entering the Order Denying
Relief on April 17, 2017. Appellant appealed from the Confirmation Order and the
Order Denying Relief on April 28, 2017.

On June 27, 2017 Appellant moved the Bankruptcy Court for correction of
the record pursuant to Rule 8009(e)(2)(B) FRBP in connection with his and
Sandakov’s alleged presence at the February 27, 2017 hearing (1089-1104 (BDI
187)).‘9

SUMl\/IARY OF THE ARGUl\/IENT

This Court as appellate court has discretion to consider arguments raised by
the Appellant on appeal for the first time and should exercise its discretion in order
to avoid manifest injustice to the Appellant and because the Appellant’s arguments
pertain to issues of law and do not require additional fact finding. And further
because the Bankruptcy Court had a duty to consider whether it had jurisdiction
over the SHA Claims on its own motion, but failed to do so and because relief is

mandatory where a judgment is void for want of jurisdiction or lack of due process

 

19 Appellant did not designate this motion as part of the record because he expects
the Bankruptcy Court to correct the record and transmit the corrected record to the
District Court.

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Appellees failed to give Appellant notice of the time fixed to file objections
to the Plan and of the confirmation hearing (the “Confirmation Notice”) because
they did not mail the Confirmation Notice to Appellant in accordance with FRBP
Rules 3017(a) and (d), 2002(b) and (g).

By shortening the notice period of the Confirmation Notice by 11 days
Appellees also failed to give Appellant Sufficient time to object to the Plan in
violation of FRBP Rules 3017(a) and (d), 2002(b) and Article 15 of the Hague
Convention on Service Abroad of Judicial and Extrajudicial Documents (the
“Service Convention”).

Due to these violations the Appellant was not afforded due process and
accordingly the Confirmation Grder is void vis-a-vis Appellant and must be
vacated or the Exculpations and 1njunctions must be stricken from the
Confirmation Order. Alternatively, Appellant should be relieved from the
injunctive effect of the Confirmation Order under Rules 60(b)(4) of the Federal
Rules of Civil Procedure (“FRCP”). 1

Using an alternative method under FRCP Rule 4(f)(3) to send the Plan and
the Confirmation Notice to Appellant by einail was contrary to FRBP 3017 and
2002, which prevailed

Whether or not FRCP Rule 4(1)(3) applied to service of the Plan and of the

Confirmation Notice, it could not be used to evade the prohibition on entry of a
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default judgment under Article 15 of the Service Convention. Courts order
alternative service under FRCP Rule 4(1)(3) as means of according the person to be
served due process after all three elements of the second paragraph of Article 15 of
the Service Convention are satisfied

The Bankruptcy Court failed to establish satisfaction of all of the necessary
elements of Article 15 of the Service Convention. The Bankruptcy Court had no
jurisdiction to adjudicate on Appellant’s rights in default of his presence in
accordance with Article 15 of the Service Convention. The Confirmation Order is
void vis-a-vis Appellant for want of jurisdiction to enter a default judgment and
should be vacated or the Exculpations and lnjunctions should be stricken from the
Confirmation Order. Alternatively, Appellant should be relieved from the
injunctive effect of the Confirmation Order under FRCP Rule 60(b)(4).

The Bankruptcy Court did not have subject matter jurisdiction to hear and
decide the SHA Claims because these claims did not fall within either core or
related to jurisdiction ofthe Bankruptcy Court. The SHA claims did not fall within
the core jurisdiction because they were not products of bankruptcy law and existed
outside ofbankruptcy law and the bankruptcy case. The SHA Claims arose under a
2007 pre-petition contract - the SHA and were neither unique to, nor uniquely

affected by the bankruptcy proceeding Appellees could have committed the same

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breaches of the SHA without the bankruptcy case. They needed the Bankruptcy
Case only for the Exculpations and lnjunctions.

The SHA Claims did not fall within the related to jurisdiction of the
Bankruptcy Court because they did not have any conceivable effect on the estate.
The SHA Claims were not against the Debtor and their outcome could not possibly
alter the Debtor’s rights, liabilities, options, or freedom of action (either positively
or negatively) and did not in any way impact upon the handling and administration
of the bankrupt estate. The Bankruptcy Court could not use 11 U.S.C. §105 to
create jurisdiction, which it did not statutorily have in the first place.

As the Bankruptcy Court did not have subject-matter jurisdiction over the
SHA Claims it could not dispose of them with the Exculpations and lnjunctions.
Accordingly the Confirmation Order is void vis-a-vis Appellant and should be
vacated or the Exculpations and lnjunctions should be stricken from the
Confirmation Order. Alternatively, Appellant should be relieved from the
injunctive effect of the Confirmation Order under FRCP Rule 60(b)(4).

The Bankruptcy Court also lacked adjudicatory (constitutional) authority as
non-Article 111 judge to decide on the SHA Claims, even if, arguendo, these claims
fell within its subject-matter jurisdiction, because these claims were exclusively
between non-debtors, as such they could only fall within the related to jurisdiction

ofthe Bankruptcy Court and only ifthey had a conceivable effect on the res ofthe
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estate. Appellant never agreed to have the SHA Claims adjudicated by the
Bankruptcy Court, whether expressly or impliedly. Accordingly the Confirmation
Order is void vis-a-vis Appellant and should be vacated or the Exculpations and
lnjunctions should be stricken from the Confirmation Order. Alternatively,
Appellant should be relieved from the injunctive effect of the Confirmation Order
under FRCP Rule 60(b)(4).

The Exculpations and lnjunctions did not meet the l\/letromedia standard that
applies in the Second Circuit: there were no unusual or unique circumstances that
made the Exculpations and lnjunctions necessary to a successful implementation of
the Plan. Nor did the Bankruptcy Court make any specific factual findings of such
circumstances Contribution to the estate, substantial or not, on its own (absent
exceptional circumstances and importance to the plan) does not warrant plan
exculpations.

The Bankruptcy Court abused its discretion denying the l\/lotion for Relief
under FRBP 9023 as well as FRBP 9024. All elements, necessary for relief under
FRCP 59 were present: clear error of law and fact and a need to correct error or
prevent manifest injustice ln such circumstances the Bankruptcy Court should
have granted the requested relief. Not only did it err in its legal and factual
findings, when denying the l\/lotion for relief, but it also arrived at a decision that

could not have been made in the circumstances lts abuse of discretion was
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obvious, the Order Denying Relief should be quashed and the l\/lotion for Relief
under FRBP 9023 should be granted in the absence of any other relief available to
Appellant.

The Bankruptcy Court also abused its discretion, having denied the Motion
for Relief under FBRP 9024 and FRCP 60(b)(4) and (6) as in both instances it
arrived at a decision that rested on error of law in combination with clearly
erroneous factual finding. lt completely ignored Appellants arguments that the
Bankruptcy Court lacked both subject matter jurisdiction as well as adjudicatory
authority to dispose of the SHA Claiins through the Exculpations and lnjunctions.
lts conclusions about Appellants participation in the Bankruptcy Case were clearly
erroneous Accordingly the Order Denying Relief should be quashed and the
l\/lotion for Relief under FRBP 9024 and FRCP 60(b)(4) or (6) should be granted.

ARGUMENT

THE COURT HAS DISCRETION TO C()NSIDER ARGUMENTS
NOT PREVl()USLY RAISED BY APPELLANT

Appellate court has discretion to consider arguments raised for first time on
appeal in two instances (Allianz lns. Co. v. 11011101, 416 F.3d 109, 114 (2d
Cir.2005);1n 10 Mu11ay, 565 B.R. 527, 532 (S.D.N.Y. 2017)):

(a) to avoid manifest injustice, or

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(b) where argument presents question of law and there is no need for
additional fact-finding

The Exculpations and lnjunctions are manifestly unjust because they dispose
of the SHA Claims without Appellant having an opportunity to have these claims
heard. They are also manifestly unjust because under the guise of purported
adjustment of debtor-creditor(s) relationship (which there was none) the
Exculpations and lnjunctions adjust relationship between Appellant, on the one
hand, and Appellees, VRGP and RHl\/IL, on the other.

There is no need for additional fact finding either. The Bankruptcy Court
` simply misapplied the law having mistakenly believed it had either subject-matter
jurisdiction or adjudicatory power to exculpate and enjoin the SHA Claims and/or
that the Exculpation and lnjunctions fell within the applicable standard.

ln addition, the Bankruptcy Court’s lack of jurisdiction to decide on the
SHA Claims through approval of the Exculpations and lnjunctions in the absence
of due process and/or in default of Appellant’s presence and/or in the absence of
subject-matter jurisdiction mandates the review of its decision by this Court,
because where the lower court lacked jurisdiction relief is mandatory (CITE).

For the above reasons, this Court should review Appellant’s arguments even

though some of these arguments are raised on appeal for the first time.

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APPELLANT wAs i)ENiEi) i)uE PRoCEss As HE wAs Nor PRovii)Ei) wirH A PRoPER
CoNFiRMATioN NoTiCE

Appellant was not provided with a proper confirmation notice and was
deprived of due process as a result. The notice of the confirmation hearing and of
the objections to the Plan (649-651 (BDl 113)) (the “Confirmation Notice”) was
not proper because:

(a) it was not sent to Appellant’s proper address by mail as required by
FRBP 3017 and 2002 and

(b) it did not comply with the required 28-day notice period.

The Bankruptcy Court erred in its conclusion that Appellant was given
proper Confirmation Notice (903 (28:4-7)).

FRBP 3017(a), 3017(d) and 2002(b) require giving of a 28 days’ notice by
mail to an equity security holder of the time fixed for filing objections to the plan
and of the hearing to approve the disclosure statement and to confirm the plan.
FRBP 3017(d) also provides for mailing of the Chapter 11 plan to all equity
security holders

Notices required to be mailed under Rule 2002 to an equity security holder
must be addressed as such entity or an authorized agent has directed in its last
request fi_le_d in the particular case. FRBP 2002(g)(l). ln the Joint l\/lotion for

Withdrawal as Attorney of Record Appellant indicated the following address:

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Sadovnichiskaya Ul, House 74, str 1, #110, l\/loscow, Russia 115035 (508). Such
Joint l\/lotion designating Appellant’s address constituted his filed request to have
notices mailed to that address for the purpose of Rule 2002(g)(1).

Pursuant to FRBP 3017(d), 2002(b) and 2002(g)(1) the Confirmation Notice
and the Plan ware to be mailed (not emailed or couriered) to Appellant at
Sadovnichiskaya Ul, House 74, str 1, #110, l\/loscow, Russia 115035 at least 28
days before the Plan objections deadline and the confirmation hearing. They were
not mailed and were not received as a result.

On February 23, 2017 Appellees filed a Revised Confirmation Procedures
Order (118-139 (BDl 105)) proposing that the Bankruptcy Court approves the
sending of, inter alia, the Confirmation Notice by einail to slynch@monte-valle.sg
and courier to “House 74, st1 1, #11(), Moscow, Russia 115035”. Notably the

mailing address lacked the street name.20

 

20 Postcode 115035 covers 18 streets in central l\/loscow. The abbreviation str in
the Russian address designates the building number, not the street. There is no Str
1 or Street 1 in l\/loscow. lt is relevant to note that both VR Capital and Skadden
Arps have had offices in l\/loscow for decades

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On February 27, 2017 a hearing took place on the Streamline l\/lotion, two
days ahead of the date permitted under Local Rule 9006-1(b).21 Contrary to the fact
that Appellant did not participate in the telephonic hearing, as confirmed by
CourtCall, the transcript incorrectly lists him and Sandakov (as his counsel) as
participants (656 (4:11-19)). During the course of the hearing the Bankruptcy
Court also incorrectly believed that Appellant was participating in the hearing and
relied on that incorrect information (658 (6:21-23)).

Although FRBP Rule 2002(m) allows the court to enter orders designating
the matters in respect to which, the entity to whom, and the form and manner in
which notices shall be sent, it contains a caveat “except as otherwise provided by
these rules”, which does not allow the court to modify requirements of FRBP
3017(d), 2002(b) and 2002(g) by its order. See G1and Pie1 Cente1 LLC v. ATC
G1oup Services, lnc., 2007 WL 2973829 (N.D.lll. 2007) at *10.

Accordingly, the FRBP did not permit the Bankruptcy Court to approve the
sending of the Confirmation Notice in a manner contrary to FRBP 3017(d),

2002(b) and 2002(g)(1), viz.: by einail and courier and not to the address given by

 

21 Although Appellees moved the Bankruptcy Court to shorten the time period
under FRBP 9006(0) (491-502 (BDl 100)), the Bankruptcy Court did not rule on
their motion.

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Appellant pursuant to FRBP Rule 2002(g)(1). Let alone to an address that does not
even exist.22

Appellees did not mail the Plan and the Confirmation Notice to Appellant’s
address as required by FRBP 3017 and 2002. They did not mail the Confirmation
Procedures Order (509-512 (BDl 109)) as required by FRCP Rules 5(b) either. As
a result of these procedural violations Appellant did not receive the Confirmation
Procedures Order, the Plan and the Confirmation Notice at his address and was not
notified on the time to file objections to the Plan and of the confirmation hearing.
He was thus denied due process

The FRBP does not provide for service of the Plan and Confirmation Notice
under FRCP Rule 4 or permit the Bankruptcy Court to order service of the Plan
and the Confirmation Notice under FRCP Rule 4 even where a chapter 11 plan
provides for an injunction permitted under substantive law.23

The two authorities cited by Appellees and the Bankruptcy Court which
provide that service of summons on a person residing in Russia by einail is

permissible under FRCP Rule 4(f)(3) are simply inapt: while FRCP Rule 4(1)(3)

 

22 The Bankruptcy Court approved the sending of notices to Appellant to a
nonexistent address because the address did not have a street name (510 112).

23 FRBP 7001(7) exempts chapter 11 plan injunctions (permitted under substantive
law) from requirements of an adversary proceeding

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authorizes the court to order service of summons by other means not prohibited by
international agreement, FRBP 2002(m) does not permit the court to order an
alternative manner for sending notices where other subdivision of this rule (FRBP
2002(b)) provides for a specific method of sending such notices

The Bankruptcy Court also deprived Appellant of due process by shortening
the notice period. Even if, a1guend0, Appellant was properly sent the Confirmation
Notice and Plan, the Bankruptcy Court did not provide Appellant with sufficient
time to prepare and file objections to the Plan by shortening the 28 days’ notice
period by 11 days - Appellant was given only 17 days from the date of the
Confirmation Notice to file his objections and even less if one takes into account
that three business days would have been required for the documents to reach the
Bankruptcy Court from l\/loscow by an international courier delivery.

A reasonably calculated notice of pendency of the action to apprise
interested parties thereof and afford them an opportunity to present their objections
is a fundamental requirement of due process of law. Mullane v. Cent. Hanove1
Bank & T1ust Co. 339 U.S. 306, 314, 70 S.Ct. 652, 94 L.Ed. 865 (1950). These
notice requirements apply to all proceedings involving a disposition of property,
including those in bankruptcy. City of New Y01/c v. New Y01k, New Haven, &

Ha11fo1dRail1oad Co., 344 U.S. 293, 73 S.Ct. 299, 97 L.Ed. 333 (1953).

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Not less than twenty-eight days' notice is required for the filing of objections
and the hearing to consider confirmation of a Chapter 11 plan. 1n 10 Sabbun, 556
B.R. 383, 388 (Bankr. C.D. lll. 2016). Bankruptcy courts regularly hold that failure
to give proper notice of the time to file objections to the disclosure statement and
the plan and of the confirmation hearing deprives the relevant person of due
process A creditor who has received no notice of the contents of a plan has been
deprived of due process and the terms of that plan cannot be binding on that
creditor. Notice of the modified plan is essential to due process for the
confirmation order to be binding on the creditors 1n 10 Welsh, 540 B.R. 672, 681
(E.D. Ark. 2015) (citation omitted).

The Service Convention also requires the service to be effected in sufficient
time to enable the defendant to defend (Article 15). lf, in101 alia, this rule is not
observed, a default judgment may not be entered against the defendant

Given the Russian residency of Appellant and his 1010 se status, the 17 days’
Confirmation Notice (which in practical terms was only 14 days due to shipping
logistics) instead of the required 28 days, was insufficient to enable Appellant to
object to the confirmation of the Plan. ln practical terms it was half the time

allowed and given the circumstances that in and ofitselfis a gross injustice. lndeed

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it has taken weeks of research by the Appellant to even understand that his rights
of Notice were violated and to formulate this appeal on that basis24

A claim cannot be discharged if the claimant is denied due process because
of lack of adequate notice. DPWN Holdings (USA), 1n0 v. United/111 Lines, 1n0,
747 F.3d 145 (2d Cir. 2014). The Bankruptcy Court could not discharge the SHA
Claims by the Exculpations and lnjunctions because Appellant was denied due
process due to the lack of the Confirmation Notice at all or its insufficient term.

Accordingly, the Exculpation and lnjunctions in the Confirmation Order
should be set aside due to lack of proper Confirmation Notice (either because the
Confirmation Notice was not given at all or because it was shorter than required
under the FRBP) and lack of due process as a result.

THE CoNFiRMATioN ORDER rs voii) wITH RESPECT To APPELLANT UNDER
ARTICLE 15 oF THE SERviCE CoNvENTioN

lf, a1guend0, the Confirmation Notice and the Plan were to be served on
Appellant in accordance with FRCP 4(1) (and not in accordance with FRBP 3017

and 2002), whether or not the Bankruptcy Court could order service by einail on

 

21 The Appellant had previously only articulated to the court his lack of
participation to avoid res judicata. lt was not the only reason as inter alia there was
no proper notice and no due process afforded to Appellant. Also the Appellant
expected Judge Drain to act sua sponte and not to exceed jurisdiction and power of
the bankruptcy court.

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Appellant under FRCP 4(0(3), the Service Convention did not permit entry of a
default judgment on the basis of service by email.

FRCP 4(f)(3) does not authorize a US court to allow service by email,
because the Service Convention by permitting (or not interfering with) certain
methods of service (see Articles 5, 8, 10, 11 and 19) prohibits all other methods lt
will be counterintuitive to interpret the Service Convention otherwise.25

Even if the Service Convention did not prohibit service by email, FRCP
Rule 4(11(3) still cannot be used to get around the restrictions in Article 15 of the
Service Convention in relation to a default judgment, which may not be entered
against the defendant who fails to appear, until it is established that:

(a) the document was served by a method prescribed by the internal law
of the State addressed for the service of documents in domestic actions upon
persons who are within its territory, or

(b) the document was actually delivered to the defendant or to his

residence by another method provided for by this Convention,

 

25 There are a number of authorities, including in the 2nd Circuit, which hold that
the Service Convention does not prohibit service by email. However this ignores
Article 11 which provides that the Service Convention does not prevent two or
more Contracting States from agreeing to permit channels of transmission of
judicial documents other than those provided for in the preceding Articles of the
Service Convention.

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and that in either of these cases the service or the delivery was effected in
sufficient time to enable the defendant to defend.

Service of documents by email is not provided for under Russian law for the
service of documents in domestic actions upon persons who are within its territory
(1116). Russian rules of civil procedure require service by registered mail,
telegram or signed personal delivery only. The Service Convention does not
provide for service of documents by electronic means, e.g. by email. ln the
circumstances, service by email runs afoul with the Russian civil procedure rules
and the Service Convention and the Bankruptcy Court did not have the right to
order such service to evade the restrictions of Article 15 of the Service Convention.
Nor could the Bankruptcy Court enter a default judgment against Appellant
permanently enjoining his SHA Clainis.

“Article 15 allows for entry of a default judgment, but only if three
conditions are fulfilled: (1) “the document was transmitted by one of the methods
provided for in this Convention”; (2) “a period oftiine of not less than six months,
considered adequate by the judge in the particular case, has elapsed since the date
of the transmission of the document”; and (3) “no certificate of any kind has been
received, even though every reasonable effort has been made to obtain it through
the competent authorities of the State addressed.” Zhang v. Baidu.com lnc. 932

F.supp.zd 561, 568 (s.D.N.Y 2013).
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Courts also hold that alternative service will be in full conformity with the
Service Convention where the plaintiffs met all three elements required under
Article 15. 1n 10 South Af1ican Apa11h0id Litigation 643 F.Supp.2d 423, 438
(S.D.N.Y. 2009). Until and unless those three elements were met, the Bankruptcy
Court did not have the authority to order alternative service under FRCP Rule
4(0(3)-

At the confirmation hearing the Bankruptcy Court failed to establish that all
requirements of Article 15 of the Service Convention were satisfied to be able to
enter a default judgment against Appellant. lf service was improper, the default
judgment is void and must be vacated. Citizens Bank v. Decena, 562 B.R. 202, 211
(E.D.N.Y. 2016); United States v. Mu1phy, No. 2007 WL 2973584, at *2
(E.D.N.Y. Sept. 28, 2007). Here service was improper for the purpose of a default
judgment permitted by Article 15 of the Service Convention. Accordingly, the
Exculpation and lnjunctions in the Confirmation Order are void vis-a-vis Appellant

and must be vacated.

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BANKRUPTCY COURT LACKED suBJECT-MATTER JURIsDiCTioN ovER THE SHA
CLAiMs To BE ABLE To ENJoiN THEM

Bankruptcy court’s core jurisdiction

The bankruptcy court has jurisdiction to hear and determine all cases under
title 11 and all core proceedings arising under title 11, or arising in a case under
title 11. 28 U.S.C. § 157(b)(1).

The term “core proceeding” is not statutorily defined. Section 157(b)(2) sets
forth a non-exhaustive list of such proceedings” 1C1C1 Bank Limited v. Essa1
Global Fund Limited, 565 B.R. 241, 248 (S.D.N.Y. 2017). Core proceedings are
those that are found to be “arising under” the Bankruptcy Code or “arising in” a
bankruptcy case. 1n 10 R0b01t Plan C01p., 777 F.3d 594, 596 (2d Cir. 2015).
Proceedings “arising under” the Bankruptcy Code are those “that clearly invoke
substantive rights created by federal bankruptcy law.” ld (citation omitted).
Proceedings “arising in” a bankruptcy case are those that are not based on any right
expressly created by the Bankruptcy Code, but nevertheless, could arise only in a
bankruptcy case and would not have any existence outside such case.” ld, 596-97
(citation omitted); DeWitt Rehabilitation and Nursing Cente1, lnc. v. Columbia
Cas. Co., 464 B.R. 587, 591 (S.D.N.Y 2012) (citation omitted).

Whether a contract proceeding is core depends on whether the contract is

antecedent to the reorganization petition and the degree to which the proceeding is

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independent of the reorganization ln 10 U.S. Lines, 1nc., 197 F.3d 631, 637 (2d
Cir. 1999); Unive1sal Ltd. v. Allji1st Banlc (1n 10 Milleniuin Seaca11i01s, lnc.), 419
F.3d 83, 97 (2d Cir. 2005).

With respect to timing, claims for pre-petition contract damages are
generally non-core. 1C1C1 Bank, 565 B.R. at 249 quoting 1n 10 O1ion Pictu1es
C01p., 4 F.3d 1095, 1102 (2d Cir. 1993) (“lt is clear that to the extent that the
claim is for pre-petition contract damages, it is non-core.”) and 1n 10 Coude1t
B1os., 2011 WL 7678683, at *5 (S.D.N.Y. Nov. 23, 2011) (“Where a contract sued
upon was formed prior to the bankruptcy petition, it will generally be highly
unlikely that a proceeding based on that contract turns on the bankruptcy laws”).

The “critical question in determining whether a contractual dispute is core
by virtue of timing is not whether the cause of action accrued post-petition, but
whether the contract was formed post-petition”. A “dispute arising from a pre-
petition contract will usually not be rendered core simply because the cause of
action could only arise post-petition.” U.S. Lines, 1n0, 197 F.3d at 637-38.

With respect to independence from the bankruptcy case proceedings can be
core by virtue of their nature if either (l) the type of proceeding is unique to or
uniquely affected by the bankruptcy proceedings (for example, claim allowance),
or (2) the proceedings directly affect a core bankruptcy function (for example,

contractual subordination agreements affecting priority of claims). 1C1C1 Bank,
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565 B.R. at 249 citing Unive1sal, 419 F.3d at 97; U.S. Lines, 1n0, 197 F.3d at 637
(citations omitted).

Core bankruptcy functions include fixing the order of priority of creditor
claims against a debtor, placing the property of the bankrupt under the control of
the court and administering all property in the bankrupt’s possession. U.S. Lines,
1nc., 197 F.3d at 637 (quotation marks and citations omitted).

Bankruptcy couFt’s related 10 jurisdiction

The bankruptcy court has jurisdiction to hear without any determination a
proceeding that is not a core proceeding but that is otherwise related to a case
under title 11. 28 U.S.C. § 157(0)(1).

The bankruptcy court’s non-core jurisdiction is broad (but not limitless),
Celotex C01p. v. Edwa1ds, 514 U.S. 300, 307-08, 115 S. Ct. 1493, 131 L.Ed.2d
403 (1995), and extends to a proceeding whose outcome may have any
“conceivable effect” on the debtor’s estate. 1n 10 Cuyahoga Eauipment C01p., 980
F.2d 110, 114 (2d Cir.l992); Pac01, lnc. v. Higgins, 743 F.2d 984, 994 (3d
Cir.l984). The standard for “related to” jurisdiction is whether the outcome of the
proceeding could conceivably have any effect upon the debtors’ estate being
administered ln 10 R0b011 Plan C01p., 777 F.3d at 597.

Conversely, Bankruptcy courts have no jurisdiction over proceedings that

have no effect on the debtor. Celotex C01p., 514 U.S. at 308 n.6.
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The bankruptcy court is a forum where creditors and debtors can settle their
disputes with each other, and any internal dispute between a creditor and that
creditor’s investors belongs elsewhere. 1n 10 Refco 1nc., 505 F.3d 109, 118 (2d Cir.
2007). Bankruptcy jurisdiction over third-party non-debtor claims is only
appropriate where such claims directly affect the res of the bankruptcy estate. 1n 10
Quigley Co., lnc., 676 F.3d 45, 53 (2d Cir. 2012). Proceedings “related to” the
bankruptcy include suits between third parties which have an effect on the
bankruptcy estate. Celotex C01p., 514 U.S. at 308 n.5.

lf the action between third parties will have a collateral estoppel effect on
the debtor, the third party action is “related to” the bankruptcy case for
jurisdictional purposes ln 10 Ma1gulies, 476 B.R. 393, 399 (Bankr. S.D.N.Y 2012)
(citation omitted).

A bankruptcy court does not have jurisdiction to resolve a dispute between
third parties if it is possible to administer the estate without resolving the dispute,
even if its resolution might have a ‘chilling effect’ on the disposition of the
bankruptcy, or might reduce claims against the debtor’s estate. Schumach01 v.
White, 429 B.R. 400, 406 (E.D.N.Y. 2010) (quotation marks and citations omitted).

“Related to” jurisdiction must exist independently of any plan provision
purporting to involve or enjoin claims against non-debtors 111 10 Zale Co1p., 62

F.3d 746, 756 (5th Cir.1995). 11 U.S.C. §105(a) does not broaden the bankruptcy
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court’s jurisdiction, which must be established separately 1n 10 Johns-Manville
Co1p., 801 F.2d 60, 63 (2d Cir.1986).

A bankruptcy court does not acquire subject matter jurisdiction “to enjoin
claims brought against a third-party non-debtor solely on the basis of that third-
party’s financial contribution to a debtor’s estate”, as otherwise, “a debtor could
create subject matter jurisdiction over any non-debtor third-party by structuring a
plan in such a way that it depended upon third-party contributions.” 1n 10 Johns-
Manville C01p., 517 F.3d 52, 66. (2d Cir. 2008) (quoting 1n 10 Con1bustion Eng'g,
1nc., 391 F.3d 190, 228 (3d Cir.2004)).

l\/lore recently the District Court of the District of Delaware held that “the
permanent release of a non-debtor, third-party’s claim against another non-debtor,
third party~whether through a, chapter 11 plan or otherwise»-is an exercise of the
Bankruptcy Court’s “related to” jurisdiction, concluding that a proceeding solely
between non-debtor parties based on non-bankruptcy law can only be heard by
Bankruptcy Courts under “related to” jurisdiction, and then only “if the outcome
could alter the debtor's rights, liabilities, options, or freedom of action (either
positively or negatively) and which in any way impacts upon the handling and
administration of the bankrupt estate.” 1n 10 Millennium Lab Holdings 11, LLC,

2017 WL 1032992 (Del. 2017) at *2 (citation omitted).

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SHA Claims do not fall within core 01 related to jurisdiction of the Bankruptcy
Court

The SHA Claims, including the claims in the Appellants arbitration request
(773-801) (“Arbitration Request”), do not fall within core or related to jurisdiction
of the Bankruptcy Court.

First, SHA Claims are against non-debtor parties: Appellees, VRGP and
RHl\/IL. They are not, nor could possibly be, against the Debtor, because the SHA
breaches were committed by Appellants, VRGP and RHl\/IL not the Debtor.

Second, the SHA Claims are based on English common law of contract (not
on bankruptcy law) and exist outside the bankruptcy case - the SHA Claims relate
to Appellees’, VRGP and RHl\/lL acts that breached the SHA and that could have
taken place even without the bankruptcy case. As a matter of the Existing Loans,
Appellees could have sought to enforce them and, as a matter of Luxembourg
company law, they could have reorganized the share capital of the Debtor. Both of
these actions would have violated the SHA, but neither required a bankruptcy
filing. The US bankruptcy case was only required so that Appellees and VRGP
could obtain Exculpations and lnjunctions and block Appellant from pursuing
damages claims against them for the SHA breaches There were lots of ways

Appellees could get rid of Appellant but only one way that also afforded them a

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shield from his rightful claims and that way was to fabricate the bankruptcy in the
Westchester Division of the US Bankruptcy Court.

Third, it was not possible for Appellant to bring the SHA Claims (against
non-debtors for damages for breach of contract) within the bankruptcy case.

For the above reasons the SHA Claims do not arise under title 11: they
neither fall within the non-exhaustive list of core proceedings set forth in 28 U.S.C.
§ l57(b)(2) nor involve rights created by federal bankruptcy law. l\/loreover, SHA
Clause 27.3 expressly excludes any statutory remedies, including those, which
arise under bankruptcy law.

The SHA Claims do not arise in a case under Title 11 either. The SHA
Claims originate under a pre-petition 2007 SHA. Whether the cause of action
accrued either before or after the filing of the petition is irrelevant. U.S. Lines, 1n0,
197 F.3d at 637-38.

The SHA Claims are independent of the bankruptcy case 4 they are neither
unique to nor uniquely affected by the bankruptcy proceedings, as would, for
example, a claim filed against the Debtor. Nor do the Claims directly affect a core
bankruptcy function, as would, for example, a contractual subordination agreement
affecting the priority of claims in bankruptcy. U.S. Lines, lnc., 197 F.3d at 637.

Any attempt by the Bankruptcy Court to bring any of the SHA Claims under

the category of allowance or disallowance of claims against the estate and
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characterize them as core proceedings on that basis is legally incorrect. Appellant
does not seek to determine whether the Existing Loans should be allowed or
disallowed against the Debtor. Appellant is not a party to the Existing Loans and
cannot make claims thereunder (1154-1155 (BDl 14) 1127). The SHA Claims are
separate from the Existing Loans

None of the SHA Claims are related to the Debtor’s bankruptcy case
because the outcome of these claims will not alter the Debtor’s rights, liabilities,
options or freedom of action and in no way do they impact upon handling and
administration of the bankruptcy estate. The Claims will not have any collateral
estoppel effect on the Debtor and the Appellant is not seeking to undo the
bankruptcy, he is only seeking damages from the Appellees and other exculpated
third parties Accordingly, related to jurisdiction of the Bankruptcy Court does not
exist over the SHA Claims either.

If the Bankruptcy Court lacked subject-matterjurisdiction relief from its
judgment is mandatory

“Courts have an independent obligation to determine whether subject-matter
jurisdiction exists, even when no party challenges it.” Hertz Corp. v. Friend, 559
U.S. 77, 94, 130 S.Ct. 1181, 175 L.Ed.2d 1029 (2010). A judgment remains void

even after final judgment if the issuing court lacked subject-matter jurisdiction,

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regardless of whether there existed an “ arguable basis” for jurisdiction. Austin v.
Smith, 312 F.2d 337, 343 (D.C.Cir.1962).

lf a judgment is void, relief from it is mandatory: “Under [Rule 60(b)(4) ] ...,
the only question for the court is whether the judgment is void; if it is, relief from it
should be granted....” ld. There is no question of discretion on the part of the court
when a motion is under Rule 60(b)(4); if the judgment is void, relief is mandatory.
Bell Helicopter Textron, 1n0 v. lslamic Republic oflran, 734 F.3d 1175 (D.C. Cir.
2013) (citation omitted).

As the Bankruptcy Court lacked subject-matter jurisdiction (and as a result
statutory authority) to decide and/or hear the SHA Claims, including claims in
Arbitration Request, its decision on the Exculpation and lnjunctions against
Appellant is void and should be vacated or Appellant should be granted relief
under FRBP Rule 9024 and FRCP Rule 60(b)(4), which is mandatory.
BANKRUPTCY COURT LACKED CONSTlTUTIONAL (ADJUDICATWE) AUTHORITY TO

FiNALLY i)isPosE oF run SHA CLAiMs runouoii THE ExCuLPArioNs AND
INJUNCTioNs

When a district court refers a case to a bankruptcy judge, that judge’s
statutory authority depends on whether Congress has classified the matter as a
“core proceeding” or a “non-core proceeding”. Congress gave bankruptcy courts
limited authority in non-core proceedings where absent consent of all the parties to

the proceeding bankruptcy courts may only “submit proposed findings of fact and
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conclusions of law,” which the district courts review de novo. §157(0)(1). Wellness
1ntern. Network, Ltd. v. Sharif135 S.Ct. 1932, 1940, 191 L.Ed.2d 911, 83 USLW
4337 (2015); Executive Benefits 1ns. Agency v. Arkison, 134 S.Ct. 2165, 2172, 189
L.Ed.2d 83, 82 USLW 4450 (2014).

The limits on the Bankruptcy Court’s adjudicatory authority does not end
with the related to proceedings but extends to the so called Stern claims - claims
designated for final adjudication in the bankruptcy court as a statutory matter, but
prohibited from proceeding there as a constitutional matter.26 Executive Benej?ts
1ns. Agency v. Arlcison, 134 S.Ct. 2165 at 2170. Adjudication of state-created
private rights belongs before an Article lll court and must be distinguished from
the restructuring of debtor-creditor relations, which is at the core of the federal
bankruptcy power. ld at 2171 (citation omitted).

A bankruptcy court lacks constitutional authority to enter final judgment
even in a c‘core” proceeding when (1) the claim does not fall within the public right
exception; (2) the claim would not necessarily be resolved in a ruling on a

creditor’s proof of claim; and (3) parties did not unanimously consent to final

 

26 in stem v. Ma,»$ha/i, 564 u.s. 462, 131 s.ci. 2594, 2601, 180 L.Ed.Qd 475
(2011) the Supreme Court ruled that although the bankruptcy judge had the
statutory authority to enter judgment on the counterclaim pursuant to 11 U.S.C.
157(b)(2), it lacked the constitutional authority to do so.

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adjudication by a non-Article-lll tribunal. ResCap Liquidating T rust v. PHH
Mortg. Corp., 518 B.R. 259, 265 (S.D.N.Y. 2014) citing Weisfelner v. Blavatnik
(1n re Lyondell Chem. Co.), 467 B.R. 712, 719-20 (S.D.N.Y.2012).

The Bankruptcy Court’s authority to enter a final order on a non-core claim
for which the claimant has a constitutional right to adjudication by an Article lll
court is clearly limited by Stern and “following Stern, it is clear that regardless of
whether the Bankruptcy Court has subject matter jurisdiction over proceedings -
both core and non-core - it cannot enter a final order releasing third-party claims
unless it has constitutional authority to do so as well.” ln 10 Millennium Lab
Holdings 11, LLC, 2017 WL 1032992 (Del. 2017) at *3-4.

ln so far as Article lll prevents the Bankruptcy Court from entering a final
order disposing of a non-bankruptcy claim against a non-debtor outside of the
proof of claim process, it follows that this prohibition should be applied regardless
of the proceeding (i.e., adversary proceeding, contested matter, plan confirmation).
1n 10 Millennium Lab Holdings 11, LLC, 2017 WL 1032992 (Del. 2017) at *13.

SHA Claims being claims for damages for breach of contract by one non-
debtor against other non-debtors could not possibly be resolved “in ruling on
creditor’s proof of claim” because they are not (nor could be) asserted against the
Debtor. Even if, arguendo, the SHA Claims fall within the subject-matter

jurisdiction of the Bankruptcy Court and give it statutory authority over them
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(which Appellant denies), pursuant to S101n, Executive Benejits, Wellness and now
Millennium, the Bankruptcy Court still lacked constitutional authority to decide the
SHA Claims, such claims being English common law Claims, because as a bare
minimum such claims had to be decided by this Court, if not by an LClA tribunal.

Appellant never consented to the determination of the SHA Claims by the
Bankruptcy Court. lt is counterintuitive to suggest otherwise as Appellant did not
even have standing to bring the SHA Claims before the Bankruptcy Court.
Moreover, as plainly follows from the Arbitration Request and from submissions
made by and on behalf of Appellant in connection with his l\/lotion for lntervention
(298-343 (BDl 67)), Appellant has always challenged and continues to challenge
the jurisdiction of the Bankruptcy Court to adjudicate his SHA Claims

ln Millennium, the district court decided that the plan confirmation issue had
to be remanded to the bankruptcy court to consider the issue of its constitutional
authority to approve non-debtor third-party releases (strongly suggesting that it did
not have such adjudicatory authority). ln 10 Millennium Lab Holdings 11, LLC,
2017 WL 1032992 (Del. 2017) at *14.

ln this case, neither during the hearing (875-921 (BDl 145)), nor in the
Confirmation Order did the Bankruptcy Court ever consider whether or not it had

constitutional authority over the Exculpations and lnjunctions

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Appellant respectfully requests (as Appellant did in the Motion for Relief)
that this Court either relieve Appellant from the Exculpations and lnjunctions (or
strike them from the Plan) or remand the Plan confirmation issue back to the
Bankruptcy Court, as in Millennium, to consider whether it had constitutional
authority to approve the Exculpations and lnjunctions (which it does not). lf
remanded the Bankruptcy Court should allow the Appellant to have his claims
heard in the agreed jurisdiction, the LClA.

l\/laking either of the above decisions will avoid manifest injustice to
Appellant, as he has not been afforded any forum to have the SHA Claims heard
Deterinining that the Bankruptcy Court did not have adjudicatory (constitutional)
authority to approve the Exculpations and lnjunctions in relation to the SHA
Claims, following the decisions in Stern, Wellness and Millennium is a question of
law that does not require any additional fact-finding Either of these grounds
allows this Court to exercise its discretion and consider the lack of adjudicative
(constitutional) authority argument

EXCULPATlONS AND lNJUNCTIONS l)lD NOT SATlSFY THE APPLICABLE STANDARD

Subject to constitutional (adjudicative) authority, a permanent release of a
non-debtor claim against another non-debtor through a chapter 11 plan is an
exercise of the Bankruptcy Court’s “related to” jurisdiction, 1n 10 Millennium Lab

Holdings 11, LLC, 2017 WL 1032992 (Del. 2017) at *2, which is only appropriate
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if the outcome could alter the debtor's rights, liabilities, options, or freedom of
action (either positively or negatively) and which in any way impacts upon the
handling and administration of the bankrupt estate.” Pacor, Inc. v. Higgins, 743 F.2d
984, 994 (3d Cir. 1984). The touchstone for bankruptcy jurisdiction over non-debtor
claims against other non-debtors remains whether their outcome might have any
conceivable effect on the bankruptcy estate. 1n 10 Quigley Co., 1n0, 676 F.3d at 57
(citation and quotation marks omitted).

The starting point was therefore to establish a related to jurisdiction of the
Bankruptcy Court over the SHA claims, which as evidenced by the hearing
transcript (875-921 (BDl 145)) the Bankruptcy Court omitted to do.

Once the related to jurisdiction over a non-debtor ~ non-debtor release is
established, the bankruptcy court must establish specific factual findings of truly
unusual or unique circumstances that make the release important to the success of
the plan, because a non-debtor release is a device that lends itself to abuse, by
which a non-debtor can shield itself from liability to third parties (exactly as
occurred in this case). Metromedia Fiber Network lnc., 416 F.3d 136, 143 (2d Cir.
2005).

Courts have approved non-debtor releases when: the estate received
substantial consideration; the enjoined claims were channelled to a settlement fund

rather than extinguished; the enjoined claims would indirectly impact the debtor’s
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reorganization by way of indemnity or contribution; and the plan otherwise
provided for the full payment of the enjoined claims Metromedia F ib01 Network
1nc., 416 F.3d at 142. But these are not “factors and prongs”. ld. A non-debtor
release is not justifiable simply on the ground that it was offered in exchange for a
monetary contribution 1d at 143.

Same standards apply to exculpations. ln 10 Chemtu1a Corp., 439 B.R. 561,
611 (Bankr. S.D.N.Y. 2010); 1n 10 Genco Shipping & Trading Limited, 513 B.R.
233, 268-69 (Bankr. S.D.N.Y. 2014).

ln approving the Exculpations and lnjunctions the Bankruptcy Court made
no specific factual findings of truly unusual or unique circumstances that made the
Exculpations and lnjunctions important to the success of the Plan (... pages 18-19,
A pages 32-33). ln fact there were no such circumstances nor were the
Exculpations and lnjunctions necessary to the success of the Plan

Appellees contribution to the Debtor was not conditioned upon the
Exculpations and lnjunctions ln order to get the anticipated recovery of 8140
million Appellees had to continue to fund the litigation over Yukos Finance until
its settlement or final adjudication and were prepared to fully fund the 33 million
New l\/loney Loan (706-707 1152, 53). Since Appellant terminated the SHA for its
repudiatory breach by Appellees, VRGP and RHl\/IL there remained no obstacles

to Appellees causing the Debtor and PNS to settle the Yukos Finance litigation and
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consequently no obstacles to Appellees funding the Debtor. Accordingly, the
Exculpations and lnjunctions were not a necessary pre-requisite of Appellees’
funding of the Debtor, important to a successful implementation of the Plan.

As there existed no unique or unusual circumstances important to a
successful implementation of the Plan, the Metromedia standard for the
Exculpations and lnjunctions was not reached Absent meeting the Metromedia
standard, the Bankruptcy Court had no legal ground to approve the Exculpations
and lnjunction. Accordingly the Exculpations and lnjunctions must be stricken
from the Plan or Appellant should be relieved from their effect under FRBP 9024
and FRCP 60(b)(6). For the same reason a relief under FRBP 9023 and FRCP 59 is
also warranted

MoTIoN FoR RELIEF uNDER FRBP 9023 AND FRCP 59
sHoULD HAvE BEEN GRANTED

To be entitled to re-argument, the moving party must demonstrate that the
court overlooked controlling decisions or factual matters that might materially
have influenced its earlier decision or, alternatively, the need to correct a clear
error or prevent manifest injustice. 111 10 Adelphia Business Solutions, lnc. 2002
WL 31557665 (Bankr. S.D.N.Y. 2002) at *l; 1n 10 Coudert Brothers LLP 2009

WL 2928911 (Bankr. S.D.N.Y. 2009) at *2.

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All of the above factors were present in connection with the l\/lotion for
Relief and warranted grant of re-argument of the Exculpations and lnjunctions

First, the Bankruptcy Court overlooked a number of controlling decisions
referred to above (and for the reasons explained above failed on its own motion to
establish that it had (a) subject-matter jurisdiction; (b) constitutional authority; and
(c) relevant grounds to approve the Exculpations and injunctions), including but
not limited to:

(a) 1n 10 Cuyahoga Equipment Corp., 980 F.2d 110 (2d Cir.l992);

(b) Celotex Corp. v. Edwards, 514 U.S. 300 (1995);

(c) 1n 10 U.S. Lines, 1nc., 197 F.3d 631 (2d Cir. 1999);

(d) Metromedia Fiber Networh 1nc., 416 F.3d 136 (2d Cir. 2005);

(e) Hertz Corp. v. Friend, 559 U.S. 77 (2010);

(D Stern v. Marshall 564 U.S. 462 (2011);

(g) 1n re Quigley Co., 1n0, 676 F.3d 45 (2d Cir. 2012);

(h) Wellness 1n101n. Network, Ltd. v. Sharif135 S.Ct. 1932 (2015).

The Bankruptcy Court overlooked the factual matters pertaining to the SHA
Claims; these claims were not against the Debtor, they did not have any
conceivable effect on the estate, there were no unique circumstances for enjoining

these claims for the purpose ofthe Plan implementation

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The Bankruptcy Court was aware of the l\/larch 6, 2017 Arbitration Request,
which left no doubt that Appellant who from day one and every day disputed the
jurisdiction of the Bankruptcy Court had never consented to the adjudication of the
SHA Claims by the Bankruptcy Court.

Given the nature of the SHA Claims, the Bankruptcy Court’s conclusions
that it had subject matter jurisdiction, adjudicatory authority and that the grounds
to approve the Exculpations and lnjunctions existed were clearly erroneous

There was also a need to prevent the manifest injustice of disposal of the
SHA Claims by the Bankruptcy Court when these claims being claims between
non-debtor parties and not affecting the res of the estate were not nor could have
been submitted to it for determination

While only one element is necessary for a bankruptcy court to exercise its
discretion and grant a motion for new trial, in this case all four alternative elements
were present. ln such circumstances the Bankruptcy Court should have granted the
l\/lotion for Reliefunder FRBP 9023 and FRCP 59.

At a minimum the Order Denying Relief in the circumstances where all four
alternative elements were present cannot be located within the range of permissible
decisions and should be quashed for abuse of discretion and the l\/lotion For Relief

granted

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The Bankruptcy Court also erred in law and factual findings when it denied
the l\/lotion for Relief:

(a) As stated above, Appellant satisfied requirements for relief under Rule
9023 contrary to the Bankruptcy Court’s finding (1048 (45:14-16));

(b) The Bankruptcy Court was to consider its jurisdiction, constitutional
authority and exceptional circumstances as grounds for the Exculpations and
lnjunctions and not their “implications” (1049 (46:21-24)). Under no
circumstances were it to approve the Exculpations and lnjunctions “routinely”. 1n
10 Chemtura Corp., 439 B.R. at 611; 112 10 Genco Shipping & Trading Limited, 513
B.R. at 268.

Having erred in law and factual findings while denying the l\/lotion for
Relief the Bankruptcy Court abused its discretion Accordingly, the Order Denying
Relief should be quashed and the l\/lotion for Relief granted.

MoTioN FoR RELiEF uNi)ER FRBP 9024 AND FRCP 60(B)
snouLi) riAvE BEEN GRANTED

The court may relieve a party from a final order if the judgment is void.
FRBP 60(b)(4). A party may seek relief from a final judgment that “is void,” in the
rare instance where ajudgmeiit is premised either on a certain type ofjurisdictional

error or on a violation of due process that deprives a party of notice or the

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opportunity to be heard. United Student Aid Funds, lnc. v. Espinosa 130 S.Ct.
1367.

F or the reasons set out in section “Bankruptcy Court lacked subject-matter
jurisdiction over the SHA Claims to be able to enjoin them” the Bankruptcy Court
did not have subject-matter jurisdiction over the SHA Claims and accordingly
could not dispose of these claims through Exculpations and lnjunctions On this
ground the Confirmation Order is void

Judgments that are void must be set aside under Rule 60(b)(4). Orix
Financial Services v. Phipps, 2009 WL 2486012 (S.D.N.Y. 2009) citing Cent. Vt.
PSC v. Herbert, 341 F.3d 186, 189 (2d Cir.2003) (holding that under Rule 60(b)(4)
“a deferential standard of review is not appropriate because if the underlying
judgment is void, it is per se abuse of discretion for a district court to deny a
movant’s motion to vacate the judgment under Rule 60(b)(4)”).

Even if, arguendo, the Confirmation Order is not void, relief from the
Exculpations and lnjunctions was still warranted under FRCP 60(b)(6) because the
Bankruptcy Court lacked adjudicatory authority over the SHA Claims The
underlying scope of FRCP 60(b)(6) is to do justice in a particular case when the
judgment may work an extreme and undue hardship and when relief is not
warranted by the preceding clauses of Rule 60(b). ln 10 AMC Realty Corp., 270

B.R. 132, 143-44 (Bankr. S.D.N.Y. 2001);1n 10 Teligent, lnc., 326 B.R. 227.
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ln determining whether a movant has met its burden under Rule 60(b)(6),
relevant considerations include:
(a) the desire to resolve disputes on their merits;
(b) the existence of a meritorious claim or defense; and
(c) the absence of unfair prejudice to the opposing party if the
requested relief is granted 1d (citation omitted).

Relief under FRCP 60(b)(6) was justified because the Exculpations and
lnjunctions placed undue hardship on Appellant by depriving him of any ability to
vindicate his rights against Appellees and other exculpated parties As a
consequence of this and given the incredibly limited universe of people affected by
this bankruptcy_there is only one person affected, the Appellant, the Appellant
should have the right to seek damages from the liable parties

ln denying the l\/lotion for Relief under, inter alia, FRCP 60(b)(6), the
Bankruptcy Court abused its discretion by failing to address at all the lack of
adjudicatory authority of the Bankruptcy Court over the SHA Claims - there is
nothing in the decision of the Bankruptcy Court about its subject-matter
jurisdiction, statutory or adjudicatory authority over the SHA Claims (1038-1057).
1nstead, it erroneously held that Appellant impliedly agreed to adjudication of its
SHA Claims by the Bankruptcy Court by choosing to participate in the bankruptcy

proceedings (1046 (43:11-20)) referring to Wellness 1n101n. Networlc, Ltd. v. Sharif
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135 S.Ct. 1948. This Bankruptcy Court’s conclusion was legally and factually
wrong First, Appellant never sough adjudication of his SHA Claims by the
Bankruptcy Court. The record clearly supports that. Appellant sought stay of the
bankruptcy case pending resolution of his SHA Claims by an LClA tribunal or,
alternatively, dismissal of or abstention from the bankruptcy case, but not
adjudication of the SHA Claims by the Bankruptcy Court on the merits He simply
could not because the Bankruptcy Court did not have jurisdiction to even hear the
SHA Claims Second, even an implied consent has to be knowing and voluntary in
that “the litigant or counsel was made aware of the need for consent and the right
to refuse it, and still voluntarily appeared to try the case” before the non-Article lll
adjudicator. ld. This never happened because the SHA Claims were never before
the Bankruptcy Court, and Appellant was never made aware that he had the right to
have the Exculpations and lnjunctions to be decided by an Article lll adjudicator.
For the above reasons the Order Denying Relief from the Exculpation and
lnjunction provisions under FRCP 60(b)(6) because the Bankruptcy Court lacked,
inter alia, adjudicatory (constitutional) authority to approve the Exculpations and
lnjunctions should be quashed and the l\/lotion for Relief granted

CONCLUSION

For the reasons set out about Appellant respectfully requests this Court to

grant its appeal in its entirety as follows:
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(a) to declare that the Exculpations and lnjunctions are void vis-a-vis
Appellant; and/or

(b) to order that the Exculpations and lnjunctions be stricken out from the
Confirmation Order and the Plan; and/or

(c) to grant Appellant relief from the Exculpations and lnjunctions under
FRCP 60(b)(4) or FRCP 60(b)(6) and FRBP 9024; and/or

(d) to quash the Order Denying Relief under FRBP 9024 and FRCP
60(b)(4) or FRCP 60(b)(6); or

(e) to quash the Order Denying Relief under FRBP 9023 and FRCP 59.

Dated: luly 13, 2017
London, United Kingdom

Respectfully Submitted,

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CERTIFICATE ()F COMPLIANCE

Pursuant to Rule 8015(a)(7)(C) of the Federal Rules of Bankruptcy Procedure l
hereby certify that:

1. The brief complies with Rule 8015(a)(7)(B) of the Federal Rules of
Bankruptcy Procedure, made applicable by Rule 8015(f), because it contains
in total 13,841 words, as determined by the word-count function of
l\/licrosoft Word.

2. This brief complies with the typeface requirements of Rule
8015(a)(15) of the Federal Rules of Bankruptcy Procedure because it has

been prepared in a proportionally spaced typeface using l\/licrosoft Word in

14-point Times New Roman font.

Dated: July 13, 2017

1101-1111

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